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 17 STATE FARM GENERAL INSURANCE COMPANY
 18                              UNITED STATES DISTRICT COURT
 19                            CENTRAL DISTRICT OF CALIFORNIA
 20 JACQUELYN “JACKIE” LACEY, in                       Case No. 2:24-cv-05205-FMO-MAA
    her individual capacity; and
 21 JACQUELYN “JACKIE” LACEY as                        Judge: Hon. Fernando M. Olguin
    trustee of the D and J Lacey Family                Crtrm: 6D
 22 Trust dated November 23, 2016,
                                                       DEFENDANT STATE FARM
 23                     Plaintiffs,                    GENERAL INSURANCE
                                                       COMPANY’S APPLICATION FOR
 24            v.                                      LEAVE TO SEAL DOCUMENTS
                                                       DESIGNATED BY ANOTHER
 25 STATE FARM GENERAL                                 PARTY AS CONFIDENTIAL [L.R.
    INSURANCE COMPANY, an Illinois                     79-5.2.2(b)]
 26 corporation, and DOES 1-50, inclusive,
    ,                                                  [Filed concurrently with Declaration of
 27              Defendants.                           Katherine Sample and Proposed Order]
 28
                                                    -1-              Case No. 2:24-cv-05205-FMO-MAA
      SMRH:4860-4927-2039.5   STATE FARM’S APPLICATION FOR LEAVE TO SEAL DOCUMENTS DESIGNATED
                                                              BY ANOTHER PARTY AS CONFIDENTIAL
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  1            TO THE HONORABLE COURT AND PLAINTIFF:
  2            Pursuant to Civil Local Rule 79-5.2.2(b), Defendant State Farm General
  3 Insurance Company (“State Farm”) respectfully submits this Application for Leave
  4 to Seal Documents Designated by Another as Confidential in connection with its
  5 concurrently-filed Motion to Compel Arbitration (the “Motion”), the supporting
  6 Declaration of Chad Zimmerman (“Zimmerman Declaration”) and Exhibit No. 16 to
  7 the Index and Compendium of Exhibits.
  8 A.         STATE FARM’S REQUEST SATISFIES LOCAL RULE 79-5.2.2.
  9            This matter arises from the defense of Mrs. Lacey and her late husband,
 10 David Lacey, in an underlying suit (Abdullah et al. v. Lacey et al., Los Angeles
 11 Superior Court Case No. 20STCV40080 [the “Abdullah Action”]) brought by Black
 12 Lives Matters demonstrators who claimed that Mr. Lacey confronted them with a
 13 gun during a protest at the Laceys’ home.
 14            Mrs. Lacey was dismissed as a defendant in the Abdullah Action in July 2023,
 15 following acceptance of an offer to compromise the claims alleged against her made
 16 under California Code of Civil Procedure section 998. The Abdullah Action
 17 continued against her husband, Mr. Lacey and, after his death, the plaintiffs
 18 substituted the Estate of David Lacey in his place. In the Complaint in this action,
 19 Mrs. Lacey alleges, among other things, that on March 27, 2024, the Abdullah
 20 Plaintiffs reached a “settlement agreement in principle” as to the remaining claims
 21 against the Estate in the Abdullah Action. (ECF 1-1, ¶44).
 22            There is currently no Protective Order entered in this action, and Mrs. Lacey
 23 has not produced documents during discovery designated as Confidential. (Sample
 24 Dec., ¶4). However, in responding to discovery, Mrs. Lacey has broadly and
 25 improperly asserted mediation confidentiality, among other objections, in response
 26 to State Farm’s requests, including requests related to the March 27, 2024 settlement
 27 in principle referenced in the Complaint. (Id.)
 28            In an abundance of caution, State Farm contacted Plaintiffs to clarify their
                                                 -1-             Case No. 2:24-cv-05205-FMO-MAA
      SMRH:4860-4927-2039.5   STATE FARM’S APPLICATION FOR LEAVE TO RE WHETHER ANOTHER PARTY’S
                                                                     MATERIAL SHOULD BE SEALED
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  1 position in advance of filing the Motion and supporting documents, and particularly
  2 to confirm whether Plaintiffs contended that certain statements in the Motion and
  3 supporting evidence were subject to seal under the Court’s Local Rules. (Id., ¶ 5).
  4 During those meet and confer efforts, Plaintiffs maintained that certain information
  5 constituted “confidential information” that “should be treated appropriately, whether
  6 through sealing or otherwise.” (Id., ¶6, Ex. A). Plaintiffs also maintained that other
  7 information was “mediation confidential” and “may not be cited at all.” (Id.) State
  8 Farm disagrees.
  9            Under California law, mediation confidentiality applies to communications
 10 made for the purpose of, in the course of, or pursuant to, a mediation. Cal. Evid.
 11 Code § 1119. Mediation confidentiality does not limit the admissibility of an
 12 agreement to mediate or disclosure of the mere fact that a mediation occurred with a
 13 particular mediator. Cal. Evid. Code § 1120(b)(1)&(3); Rojas v. Superior Ct., 33
 14 Cal. 4th 407, 417 (2004) (noting the Legislature has carved out statutory exceptions
 15 to “limit. . .the scope of [s]ection 1119. . .that prevent[s] parties from using a
 16 mediation as a pretext to shield materials from disclosure”); Lappe v. Superior Ct.,
 17 232 Cal.App.4th 774, 783 (2014) (“otherwise admissible facts cannot be shielded
 18 from disclosure simply because they have been placed in confidential mediation
 19 documents”). Mediation confidentiality also does not apply to written settlement
 20 agreements prepared in the course of, or pursuant to, a mediation that are signed by
 21 the settling parties and provide that they are “enforceable or binding or words to that
 22 effect.” Cal. Evid. Code § 1123(b); Provost v. Regents of Univ. of California, 201
 23 Cal.App.4th 1289, 1305 (2011) (“we reject plaintiff's contention the stipulated
 24 settlement was not admissible because protected by mediation confidentiality”).
 25 Consequently, the fact of mediation, the participants to a mediation, and a final
 26 settlement agreement – even if based on an agreement reached during mediation –
 27 are not subject to mediation confidentiality.
 28            ///
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  1            Here, State Farm’s Motion and supporting Zimmerman Declaration do not
  2 disclose the contents of any mediation communication. They recount only the fact
  3 of mediation, the participants to mediation, and the final and binding settlement
  4 agreement that Mrs. Lacey’s counsel prepared after mediation, which State Farm
  5 fully funded.
  6            State Farm notes that that agreement contains a confidentiality provision.
  7 COE, Ex. 16, ¶8). Accordingly, to the extent some other ground (separate and apart
  8 from mediation confidentiality) supports sealing the agreement from the public
  9 record, State Farm submits this Application pursuant to the Local Rules to allow
 10 Mrs. Lacey the opportunity to support the claim. Specifically, State Farm applies
 11 under Civil Local Rule 79-5.2.2(b) to seal information designated by Mrs. Lacey as
 12 confidential, as follows:
 13     Exhibit No.            Documents Sought to be Filed     Portions to be Filed     Designating
                                      Under Seal                    Under Seal             Party
 14                           State Farm’s Motion to           pp. 3:10-14; 9:15,      Plaintiffs
                              Compel Arbitration               19, 22-24; 10:1-5,
 15                                                            18-23; 14:11-15
 16                           Declaration of Chad              ¶¶27, 31-35             Plaintiffs
                              Zimmerman
 17
       13                     Partially redacted copy of the   Indemnity amounts Plaintiffs
 18                           payment summary from State       on p. 186
                              Farm’s Claim File for Claim
 19                           No. 75-G151-9K3, which the
                              Laceys submitted under
 20                           their Homeowners Policy.
 21    16                     Fully executed Settlement        Entire Exhibit          Plaintiffs
 22                           Agreement sent via email by
                              Keian Vahedy to State Farm
 23                           on June 3, 2024.

 24    17                     Partially redacted copy of the   Indemnity amounts Plaintiffs
                              payment summary from State       on p. 220
 25                           Farm’s Claim File for Claim
                              No. 75-12X4-70C, which the
 26                           Laceys submitted under
                              their Personal Liability
 27                           Umbrella Policy.
 28
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                                                                        MATERIAL SHOULD BE SEALED
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  1            State Farm will attach an unredacted version of the Motion, Zimmerman
  2 Declaration and Exhibit Nos. 13, 16 and 17 to this Application. In the publicly filed
  3 version, State Farm will redact all portions of the Motion and Declaration including
  4 information claimed confidential by Mrs. Lacey and will include with the Exhibits a
  5 page reading “REDACTED VERSION OF DOCUMENT PROPOSED TO BE
  6 FILED UNDER SEAL.” (Civil Local Rule 79-5.2.2(a)).
  7 B.         CONCLUSION
  8            For all of these reasons, State Farm submits this Application for leave
  9 regarding whether another party’s material referenced or attached to the Motion to
 10 Compel Arbitration, Declaration of Chad Zimmerman and Exhibit Nos. 13, 16 and
 11 17 should be filed under seal.
 12 Dated: September 24, 2024
 13                                      SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
 14
 15
                                         By                    /s/ Katherine Sample
 16                                                        JEFFREY S. CROWE
 17                                                       JENNIFER HOFFMAN
                                                         KATHERINE SAMPLE
 18                                                       Attorneys for Defendant
 19                                                STATE FARM GENERAL INSURANCE
                                                                COMPANY
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                                                    -4-              Case No. 2:24-cv-05205-FMO-MAA
      SMRH:4860-4927-2039.5   STATE FARM’S APPLICATION FOR LEAVE TO RE WHETHER ANOTHER PARTY’S
                                                                     MATERIAL SHOULD BE SEALED
